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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                         No. 3:19-CR-083-M

RUEL M. HAMILTON


                GOVERNMENT’S NOTICE REGARDING
        CHALLENGED T-III WIRETAP INTERCEPTS AND RECORDINGS

        The United States of America, by and through the undersigned Assistant United

States Attorney, files this Notice Regarding the Challenged T-III Wiretap Intercepts and

Recordings with the Court. A trial is scheduled to begin in the above entitled and

numbered case on June 14, 2021. During trial, the government anticipates seeking to

introduce recordings of T-III wiretap intercepts of calls made/received by Carolyn Davis.

There has been extensive briefing by the parties on this issue, and the Court has entered

Orders concerning the admissibility, e.g. Dkts. 165, 272, 279, 293, 297 and 314.

        Through his pleadings, Dkts. 272 and 297, the defendant identified thirteen T-III

wiretap intercepts and recorded meetings that he objects to the introduction of by the

government (“challenged T-III wiretap intercepts”). 1 At this time, the government files

this Notice with the Court to notify the Court and defendant that the government only

plans to seek to introduce six of the thirteen challenged T-III wiretap intercepts and



1
  The defendant has identified the following T-III wiretap intercepts and recorded meetings as ones he
objects to: GX 13/14, GX 54/55, GX 64/65, GX 70/71, GX 72/73, GX 74/75, GX 76/77, GX 78/79, GX
97/98, GX 107/108, GX 142/143, GX 146/147, and GX 182/183.



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recorded meeting. That is, the government plans to seek to introduce the following calls

and recorded meeting between Carolyn Davis and Jeremy Scroggins:

       1.      GX 70/71 – Call on February 22, 2015 at 8:34 am

       2.      GX 72/73 – Call on February 22, 2015 at 9:04 am

       3.      GX 74/75 – Meeting with Davis, Scroggins and UCE on February 23, 2015

       at approximately1:06 pm

       4.      GX 76/77 – Call on February 23, 2015 at 6:33 pm

       5.      GX 78/79 – Call on February 24, 2015 at 8:00 am

       6.      GX 107/108 – Call on April 14, 2015 at 9:16 pm

When seeking to introduce these six challenged recordings, the government will be

mindful of the Court’s prior rulings and Order entered at Dkt. 314.

                                              Respectfully submitted,

                                              PRERAK SHAH
                                              ACTING UNITED STATES ATTORNEY

                                              s/ Tiffany H. Eggers
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                               CERTIFICATE OF SERVICE

       On June 13, 2021, I electronically submitted this document to the Clerk of the

Court for the U.S. District Court, Northern District of Texas, using the electronic case

filing system of the court, which will provide a copy of this document to defendant’s

counsel.

                                              s/ Tiffany H. Eggers
                                              TIFFANY H. EGGERS
                                              Assistant United States Attorney




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